     Case: 1:18-cv-04088 Document #: 53 Filed: 05/13/19 Page 1 of 4 PageID #:506




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CAROLYN MILLER, neé Webber, on behalf of               )
herself and others similarly situated,                 )
                                                       )
               Plaintiff,                              )
                                                       )     Civil Action No. 1:18-cv-04088
               v.                                      )
                                                       )
SOUTHWEST CREDIT SYSTEMS, L.P.                         )     Hon. Rebecca R. Pallmeyer
                                                       )
               Defendant.                              )

     LOCAL RULE 56.1 STATEMENT OF UNCONTESTED MATERIAL FACTS IN
        SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff, CAROLYN MILLER (“Plaintiff”), by and through her attorneys, submits this

statement of material facts to which there are no genuine issues, and which entitles Plaintiff to

summary judgment in her favor, as follows:

                                               The Parties

1.     Plaintiff is a natural person and currently resides at 321 N. Liberty Street, Elgin, IL

60120. See Exhibit A, Plaintiff’s Carolyn Miller’s Responses to Defendant’s First Set of

Discovery, First Set of Interrogatories, ¶1.

2.     Defendant Southwest Credit Systems, L.P. (“Defendant” or “SWC”) is a Texas limited

partnership that maintains a registered agent in Illinois. See Exhibit B, Defendant’s First

Amended Answer Dkt. #13, ¶7.

3.     SWC is a “debt collector” as that term is defined by the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692a(6), because it regularly collects defaulted consumer debts.

See Exhibit B, ¶10.

4.     SWC is engaged in the business of a collection agency, using the mails and telephone to

collect consumer debts originally owed to others. See Exhibit B, ¶8.



                                                   1
      Case: 1:18-cv-04088 Document #: 53 Filed: 05/13/19 Page 2 of 4 PageID #:506




5.      SWC holds a collection agency license from the State of Illinois. See Exhibit B, ¶9.

                                          The Violation

6.      Plaintiff had a home security monitoring service with Platinum Protection, LLC on July

30, 2011. See Exhibit G, Alarm Monitoring Agreement with Platinum Protection.

7.      Monitronics Funding, LP and Monitronics International, Inc. were listed in the Alarm

Monitoring Agreement as entities that Platinum Protection, LLP “may assign or subcontract all

or any portion of” the agreement to. See Exhibit E, p.2 ¶18, enlarged on p.3.

8.      The security monitoring service was used solely in Plaintiff’s home and not for business

purposes. See Exhibit C, Plaintiff Carolyn Miller’s Deposition, 25:14-26:1-5.

9.      On or about October 19, 2014, Plaintiff sent a letter to “Platinum Protection or

Monitronics” requesting that the alarm monitoring service (“security service”) be cancelled. See

Exhibit D, Plaintiff Carolyn Miller’s Cancellation Letter.

10.     On October 1, 2016, Monitronics International, Inc. was rebranded as MONI. See Dkt.

#40-2, Exhibit A, Jeff Hazzard’s Affidavit, ¶6.

11.     Subsequently, SWC began collecting the alleged debt. See Exhibit B, ¶15.

12.     On or about March 29, 2018, SWC sent a collection letter (“Letter”) directly to Plaintiff

regarding the alleged debt, through U.S. mail. See Exhibit E.

13.     The Letter was SWC’s initial communication with Plaintiff. See Exhibit B, ¶19.

14.     The Letter conveyed information regarding the alleged debt, including an account

number and total balance due on the alleged debt. See Exhibit E.

15.     The Letter lists the “CREDITOR” as “MONI.” See Exhibit E.

16.     There is no such entity named MONI registered with the State of Illinois to do business

with Illinois consumers. See Illinois Secretary of State Business Search – MONI conducted at

https://www.ilsos.gov/corporatellc/CorporateLlcController



                                                  2
      Case: 1:18-cv-04088 Document #: 53 Filed: 05/13/19 Page 3 of 4 PageID #:506




17.     Prior to sending the Letter on or about March 29, 2018, Defendant was informed that

Monitronics had rebranded as MONI. See Exhibit F, Jeff Hazzard’s Deposition, 33:11-13.

18.     Defendant did not include information that explained the connection between MONI and

Monitronics in the Letter sent to Plaintiff. See Exhibit E.

19.     After receiving the March 29, 2018 Letter from SWC, Plaintiff was confused and did not

know the creditor to whom the debt is owed. See Exhibit C, 36:8-14.

20.     Defendant understands that it is up to them to list the creditor to whom the debt is owed

in a way Plaintiff understands. See Exhibit F, 32:21-33:1.

21.     It would have been possible for SWC to include information that explained the

relationship between MONI and Monitronics. See Exhibit F, 36:20-25.



                                   Respectfully submitted,


                                     By:s/ Celetha Chatman
                                    One of Plaintiff’s Attorneys


Celetha Chatman
Michael Wood
Community Lawyers Group, Ltd.
20 N. Clark Street, Suite 3100
Chicago, IL 60602
Ph: 312.757.1880
Fx: 312.265.3227
cchatman@communitylawyersgroup.com
mwood@communitylawyersgroup.com




                                                  3
    Case: 1:18-cv-04088 Document #: 53 Filed: 05/13/19 Page 4 of 4 PageID #:506




                                CERTIFICATE OF SERVICE

       I, Celetha Chatman, an attorney, hereby certify that on May 13, 2019, I electronically filed

the foregoing document using the CM/ECF system, which will send notification of such filing to

all attorneys of record.


Dated: May 13, 2019                                                       Respectfully submitted,


                                                                         By: /s/ Celetha Chatman




                                                4
